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                             United States District Court
                                    EASTERN DISTRICT OF TEXAS
                                       TEXARKANA DIVISION




 UNITED STATES OF AMERICA                          §
                                                   §
 V.                                                §            CASE NO. 5:10CR31(6)
                                                   §
 JOSE RAUL MENDEZ                                  §



                                  ORDER ADOPTING
                          THE REPORT AND RECOMMENDATION
                       OF THE UNITED STATES MAGISTRATE JUDGE



          The above-styled matter was referred to the Honorable Caroline M. Craven, United States

 Magistrate Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal

 Procedure. Judge Craven conducted a hearing in the form and manner prescribed by Federal Rule

 of Criminal Procedure 11 and issued her Report and Recommendation (document #231) on

 September 4, 2012. Judge Craven recommended that the Court accept Defendant’s guilty plea and

 conditionally approve the plea agreement. She further recommended that the Court finally adjudge

 Defendant as guilty of Count 1 of the Fourth Superseding Indictment filed against Defendant in this

 cause.

          The parties have not objected to the magistrate judge’s findings. The Court is of the opinion

 that the Report and Recommendation should be accepted. It is accordingly ORDERED that the

 Report and Recommendation of the United States Magistrate Judge (document                   #231) is

 ADOPTED. It is further

          ORDERED that the Defendant’s guilty plea is accepted and approved by the Court. Further,

 the plea agreement is approved by the Court, conditioned upon a review of the presentence report.
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     .
 It is finally

         ORDERED that, pursuant to the Defendant’s plea agreement, the Court finds the Defendant

 GUILTY of Count 1 of the Fourth Superseding Indictment in the above-numbered cause and

 enters a JUDGMENT OF GUILTY against the Defendant as to Count 1 of the Fourth

 Superseding Indictment.


         SIGNED this 19th day of September, 2012.




                                                         ____________________________________
                                                         MICHAEL H. SCHNEIDER
                                                         UNITED STATES DISTRICT JUDGE




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